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 1   Sean P. Nalty Bar No. 121253
     sean.nalty@ogletreedeakins.com
 2   OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
     Steuart Tower, Suite 1300
 3   One Market Plaza
     San Francisco, CA 94105
 4   Telephone:    415.442.4810
     Facsimile:    415.442.4870
 5
     Attorneys for Defendants
 6   THE CHURCH PENSION GROUP SERVICES CORPORATION
     doing business as THE EPISCOPAL CHURCH MEDICAL TRUST;
 7   CIGNA BEHAVIORAL HEALTH, INC.
 8                             UNITED STATES DISTRICT COURT
 9                            NORTHERN DISTRICT OF CALIFORNIA
10                                   SAN JOSE DIVISION
11   CATHERINE BLACK,                           Case No. 15-CV-00853-PSG
12               Plaintiff,                     DEFENDANTS’ REPLY TO PLAINTIFF’S
                                                OPPPOSITION TO DEFENDANTS’
13        v.                                    MOTION TO DISMISS
14   THE CHURCH PENSION GROUP                   Date:        April 21, 2015
     SERVICES CORPORATION doing business        Time:        10:00 a.m.
15   as THE EPISCOPAL CHURCH MEDICAL            Location:    Courtroom 5
     TRUST; CIGNA BEHAVIORAL HEALTH,
16   INC.; and DOES 1-25, inclusive,            Complaint Filed: January 26, 2015
                                                Trial Date:      None Set
17               Defendants.                    Judge:           Hon. Paul S. Gerwal
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 1 I.       INTRODUCTION
 2          Plaintiff Catherine Black’s (“Ms. Black”) opposition to defendants The Church Pension
 3 Group Services Corporation d/b/a The Episcopal Church Medical Trust (“CPGSC”) and Cigna

 4 Behavioral Health Inc.’s (“Cigna”) (collectively “defendants”) motion to dismiss her second claim

 5 for relief for tortious breach of the covenant of good faith and fair dealing (“tortious bad faith”) is

 6 fatally flawed. Ms. Black argues that “whether a third party administrator [such as Cigna] can be

 7 liable for tortious bad faith involves a factual inquiry into the duties and responsibilities of the

 8 administrator and depends, in part, upon the financial relationship between the insurer and the

 9 third-party administrator.” Ms. Black’s Opposition (“the Opposition”), 5:18-22.

10          Ms. Black’s argument is factually inaccurate because here there is no relationship between
11 an insurer and a third-party administrator. Ms. Black alleges in her complaint for damages (“the

12 Complaint”) that Cigna is a third-party administrator of a self-funded medical trust sponsored by

13 the Episcopal Church. The Complaint, ¶ 7 (“Plaintiff is informed and believes, and thereon

14 alleges, that Plaintiff’s health insurance coverage was funded through The Medical Trust, which

15 sponsors and administers the Plan. Cigna served as the third party health claims administrator.”)

16          In addition, to adopt Ms. Black’s position, this Court will have to ignore multiple California
17 Supreme Court cases which hold that a claim for tortious bad faith arises only under an insurance

18 policy and follow out of state cases that, contrary to California law, hold that a claim for tortious

19 bad faith arises from factual circumstances that exist separate and apart from an insurance policy.

20 Ms. Black’s reliance on out of state cases, when California law applies to this action, only

21 highlights the fact that since there is no insurance policy at issue, Ms. Black cannot state a claim

22 for relief for tortious bad faith and her second claim for relief must be dismissed with prejudice.

23 II.      MS. BLACK’S FACTUAL STATEMENT
24          Ms. Black tries to remedy the fatal flaw of the absence of an insurance policy by stating in
25 her opposition that “Ms. Black had group health insurance coverage as a benefit of her employment

26 through an Empire BlueCross BlueShield PPO 80/60 Plan (“the Plan”), which is attached to the
27 Complaint as Exhibit A.” The Opposition, 2:8-10. However, Ms. Black did not sue Empire

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 1 BlueCross BlueShield PPO because Blue Cross did not provide insurance. The Plan was self-

 2 funded.

 3 III.     LEGAL ANALYSIS
 4          1.      The California Courts Have Decided that Defendants Who are Not a Party to
                    an Insurance Policy, such as Third Party Administrators, Cannot be Sued for
 5                  Tortious Bad Faith
 6          This matter is before the Court on diversity jurisdiction so California law applies to this
 7 matter. HS Servs. v. Nationwide Mut. Ins. Co., 109 F.3d 642, 644 (9th Cir. 1996).

 8          Ms. Black incorrectly argues that the California courts have not decided the issue of
 9 whether a third-party administrator can be held liable for tortious bad faith. The issue was decided

10 in 1973 by the California Supreme Court in Gruenberg v. Aetna Ins. Co., 9 Cal.3d 566 (1973).

11 There, the defendant insurers hired defendant P. E. Brown and Company (“Brown”) to investigate

12 a fire loss. Carl Busching (“Busching”), a claims adjuster employed by Brown, undertook the

13 investigation. The insurers also hired the law firm Cummins, White, Briedenbach & Alphson

14 (“Cummins”) to represent them. Defendant Donald Ricketts (“Ricketts“), an attorney-employee of

15 Cummins, handled the representation.

16          The non-insurance company defendants Brown, Busching, Cummins, and Ricketts
17 demurred to the plaintiff’s cause of action for tortious bad faith and it was sustained by the trial

18 court. The Supreme Court affirmed the trial court’s order, holding that: “Obviously, the non-

19 insurer defendants were not parties to the agreements for insurance; therefore, they are not, as such,

20 subject to an implied duty of good faith and fair dealing.” Id. at 576. See also, Applied Equipment

21 Corp. v. Litton Saudi Arabia Limited, 7 Cal. 4th 503, 511-512 (1994)(“We declined to impose

22 liability on the adjusting firm and its employee for tortious breach of the covenant of good faith

23 and fair dealing. In explaining our decision, we relied on two independent principles: (1) the non-

24 insurer defendants were not parties to the agreements for insurance; therefore, they were not, as

25 such, subject to an implied duty of good faith and fair dealing (Internal Quotes Omitted).”)

26 Doctors’ Co. v. Superior Court, 49 Cal. 3d 39, 45 (1989)(“Obviously, the non-insurer defendants
27 were not parties to the agreements for insurance; therefore, they are not, as such, subject to an

28
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 1 implied duty of good faith and fair dealing.”); Rude v. Nelson’s Marine, Inc., 2004 U.S. Dist.

 2 LEXIS 24870, at *6 (N.D. Cal. 2004).

 3          Ms. Black’s claim for relief for tortious bad faith fails as a matter of law because there is no
 4 insurance policy and Cigna is not a party to the self-funded Trust that provides the benefits in this

 5 action. The fact that Gruenberg v. Aetna Ins. Co addressed independent adjustors or attorneys, and

 6 not a third party administrator, is inconsequential because the salient point is that individuals or

 7 entities, including third party administrators, who are not a party to the insurance policy cannot be

 8 sued for tortious bad faith. Accordingly, Ms. Black’s second claim for relief for tortious bad faith

 9 must be dismissed with prejudice.

10          2.      The Cases Relied on by Ms. Black Apply a Factual Circumstances Test and
                    Impose a Duty of Good Faith on Parties who are Not Parties to a Contract
11

12          Ms. Black relies heavily on the 10th Circuit’s opinion in Wolf v. Prudential Insurance
13 Company of America, 50 F.3d. 793 (1995)(“Wolf”). There, the Annuity Board provided a self-

14 funded medical plan. Under the stop-loss provision of its agreements with the Board, when losses

15 reached a certain level, Prudential shared the risk with the Board; when losses got even higher,

16 Prudential underwrote the entire risk. “This profit and loss sharing arrangement was described as a

17 ‘risk sharing and cost arrangement ... which will provide for an increased liability to Prudential if

18 the loss development is adverse.” Id at 798. Prudential was reinsuring the Board.

19          Relying generally on the Oklahoma Supreme Court’s opinion in Christian v. American
20 Home Assurance Co., 577 P.2d 899, 902-04 (Okla. 1978), and concluding that Gruenberg v. Aetna

21 Insurance Co., supra 9 Cal. 3d at 566 was not “necessarily dispositive of the issue,” the 10th Circuit

22 held that: “We believe the analysis should focus more on the factual question of whether the

23 administrator acts like an insurer such that there is a ‘special relationship’ between the

24 administrator and insured that could give rise to a duty of good faith.” Id at 797. The Court found

25 that “a plan administrator in Prudential’s situation could be subject to the duty of good faith.”

26          The court in Wolf relied generally on Christian v. American Home Assurance Co., supra,
27 577 P.2d at 899. Ms. Black argues that Christian v. American Home Assurance Co, supra, relies on

28 California cases concerning the special relationship between the insured and the insurer. However,
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 1 the court in Christian v. American Home Assurance Co, supra, did not hold that the tortious

 2 covenant of good faith and fair dealing can arise out of factual circumstances that are independent

 3 of a contractual relationship. The court in Christian v. American Home Assurance Co simply

 4 recognized a claim for relief for tortious bad faith against an insurance company, holding that:

 5 “We approve and adopt the rule that an insurer has an implied duty to deal fairly and act in good

 6 faith with its insured and that the violation of this duty gives rise to an action in tort for which

 7 consequential and, in a proper case, punitive, damages may be sought. Id. at P24.

 8          In another case cited by Ms. Black, Wathor v. Mutual Assurance Administrators, Inc., 2004
 9 OK 2 (2004), the Oklahoma Supreme Court affirmed the trial court’s grant of summary judgment

10 on Wathor’s claim for bad faith against third party administrator Mutual Assurance Administrators,

11 Inc. (MAA). The court held that Wathor’s claim did not come within the specific factual

12 parameters set forth in Wolf. This included the fact that MAA “did not share the risk of loss with

13 the Plan if losses increased to a certain level, and did not underwrite the entire risk if losses got

14 even higher. Id. at *13

15          Finally, Ms. Black relies on the Colorado Supreme Court’s opinion in Cary v. United of
16 Omaha Life Insurance Company, 68 P.3d 462, 2003 Colo. LEXIS 331 (2003) (“Cary”). There, the

17 Court adopted the same analysis as the Court in Wolf, holding that “a special relationship existed

18 between the administrators and the insured sufficient to establish in the administrator a duty to act

19 in good faith.” Id. at 463. This Court, like the Court in Wolf, concluded that when the actions of a

20 defendant are similar enough to those typically performed by an insurance company in claim

21 administration and disposition, there exists a special relationship sufficient for imposition of a duty

22 of good faith and tort liability for its breach even when there is no contractual privity between the

23 defendant and the plaintiff. Id. at 466.

24          3.      The Cases Relied on by Ms. Black are Contrary to California Law which
                    Limits the Duty of Good Faith and Fair Dealing to Parties to a Contract
25

26          Ms. Black’s reliance on Wolf and Cary is misplaced because they are contrary to California
27 law. Under California law, the duty of good faith and fair dealing does not arise out of a “special

28 relationship” between the administrator and the insured that is based on a factual analysis. Unlike
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 1 Wolf and Cary, the duty is not created by the actions of a defendant that are similar enough to those

 2 typically performed by an insurance company.

 3          Under California law, the duty of good faith and fair dealing is an implied contractual term
 4 that is contained in every contract regardless of the factual circumstances and is not dependent on

 5 factual circumstance. Waller v. Truck Ins. Exchange, Inc., 11 Cal. 4th 1, 36 (1995) (In sum, the

 6 covenant is implied as a supplement to the express contractual covenants, to prevent a contracting

 7 party from engaging in conduct that frustrates the other party’s rights to the benefits of the

 8 agreement.”); Cates Construction, Inc. v. Talbot Partners, 21 Cal. 4th 28, 43 (1999) (“By now it is

 9 well established that a covenant of good faith and fair dealing is implicit in every contract. (Cites

10 Omitted).”); Foley v. Interactive Data Corp., 47 Cal. 3d 654, 683 (1988) (“Every contract imposes

11 upon each party a duty of good faith and fair dealing in its performance and its enforcement.”);

12 Scott v. Pacific Gas & Electric Co., 11 Cal. 4th 454, 462 (1995); Carma Developers (Cal.), Inc. v.

13 Marathon Development California, 2 Cal. 4th 342, 372 (1992); Gruenberg v. Aetna Ins. Co., supra,

14 9 Cal. 3d at 575 (“It is manifest that a common legal principle underlies all of the foregoing

15 decisions; namely, that in every insurance contract there is an implied covenant of good faith and

16 fair dealing.”).

17          The courts in Wolf and Cary imposed a duty of good faith on third parties who were not
18 parties to an insurance contract. This is contrary to California law as a claim for tortious bad faith

19 cannot be maintained independent of an insurance policy. The California Supreme Court in Waller

20 v. Truck Ins. Exchange, Inc., supra, 11 Cal. 4th at 36 held that “[a]bsent that contractual right,

21 however, the implied covenant has nothing upon which to act as a supplement, and should not be

22 endowed with an existence independent of its contractual underpinnings.” See also, Guz v. Bechtel

23 National, Inc., 24 Cal. 4th 317, 350 (2000) (“The covenant thus cannot be endowed with an

24 existence independent of its contractual underpinnings (cite omitted). It cannot impose substantive

25 duties or limits on the contracting parties beyond those incorporated in the specific terms of their

26 agreement”); San Miguel Community Assn. v. State Farm General Ins. Co., 220 Cal. App. 4th 798,
27 812 (2013); Love v. Fire Ins. Exchange, 221 Cal. App. 3d 1136. Under California law, the

28 covenant of good faith must arise as a contractual right and, contrary to Wolf and Cary, cannot
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 1 exist based on factual circumstances that are independent of the contractual underpinnings.

 2          The contractual underpinning for a claim for relief for tortious bad faith, Ms. Black’s
 3 second claim for relief, is an insurance policy. The breach of the implied covenant of good faith

 4 and fair dealing gives rise to remedies in tort only if the contract involved is an insurance policy.

 5 Cates Construction, Inc. v. Talbot Partners, 21 Cal. 4th 28, 43-44 (1999) (“Because the covenant

 6 of good faith and fair dealing essentially is a contract term that aims to effectuate the contractual

 7 intentions of the parties, compensation for its breach has almost always been limited to contract

 8 rather than tort remedies. (Cites & Internal Quotes Omitted.) At present, this court recognizes

 9 only one exception to that general rule: tort remedies are available for a breach of the covenant in

10 cases involving insurance policies.”); Hunter v. Up-Right, Inc., 6 Cal. 4th 1174, 1180-1181 (1993)

11 (“An exception developed in the context of insurance contracts. In that setting, a variety of policy

12 reasons have led courts to conclude that breach of the implied covenant provides a basis for an

13 action in tort.”); Foley v. Interactive Data Corp., supra, 47 Cal. 3d at 684 (“An exception to this

14 general rule has developed in the context of insurance contracts where, for a variety of policy

15 reasons, courts have held that breach of the implied covenant will provide the basis for an action in

16 tort. California has a well-developed judicial history addressing this exception.”)

17          As a matter of law, in California, the claim for relief for tortious bad faith arises out of an
18 insurance policy and can be brought only against an insurer. California law does not extend the

19 claim for tortious bad faith to instances in which a third party administrator, administering the

20 Medical Trust’s plans, allegedly performs functions of an insurer. Accordingly, defendants’

21 motion to dismiss Ms. Black’s second claim for relief for tortious bad faith should be granted.

22          4.      A Self-Funded Plan is Not Insurance Under California Law
23          The Courts in Wolf v. Prudential and Cary v. United of Omaha Life Insurance Company
24 dealt with self-funded plans and assumed that these plans constituted insurance policies without

25 any discussion or analysis of the issue.

26          Under California law, a self-funded plan is not insurance. Insurance Code § 22; Aerojet-
27 General Corp. v. Transport Indemnity Co., 17 Cal. 4th 38, 72 (1997)(fn. 20) (“In a strict sense,

28 ‘self-insurance’ is a ‘misnomer.’) Insurance is a contract whereby one undertakes to indemnify
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 1 another against loss, damage, or liability arising from a contingent or unknown event. (Ins. Code, §

 2 22.) Self-insurance is equivalent to no insurance. As such, it is repugnant to the very concept of

 3 insurance. If insurance requires an undertaking by one to indemnify another, it cannot be satisfied

 4 by a self-contradictory undertaking by one to indemnify oneself (Internal Quotes & Cites

 5 Omitted).”); Richardson v. Gab Business Servs., 161 Cal. App. 3d 519, 523 (1984) (“The

 6 allegation of self-insurance, which is equivalent to no insurance, is repugnant to the concept of

 7 insurance which fundamentally involves the shifting to a third party, by contract, for a

 8 consideration, the risk of loss as a result of an incident or event.”); Truck Ins. Exchange v. Amoco

 9 Corp., 35 Cal. App. 4th 814, 823 (1995) (“An entity that self-insures is not an insurer within the

10 meaning of Insurance Code sections 22 and 23. A self-insurer enters into no contract to indemnify

11 another.”)

12          The Complaint establishes that the Medical Trust is not an insurance company or an
13 insurance policy. Exhibit A to the Complaint states that: “Health benefits are self-funded by the

14 Medical Trust from accumulated assets and are provided directly from the Episcopal Church

15 Clergy and Employees’ Trust.” Id. at p. 88.

16          The Complaint also establishes that the benefit plans maintained by the Medical Trust are
17 not insurance policies. Exhibit A to the Complaint states that “[t]he benefit plans maintained by the

18 Medical Trust are intended to qualify as “church plans” within the meaning of Section 414(e) of

19 the Internal Revenue Code. Exhibit A, Introduction. Under Internal Revenue Code Section

20 414(e)(1), a “church plan” means a “plan established and maintained (to the extent required in

21 paragraph (2)(B)) for its employees (or their beneficiaries) by a church or by a convention or

22 association of churches which is exempt from tax under section 501.

23          Exhibit A to the Complaint further states that:
24                 The Medical Trust funds certain of its benefit plans through a trust
25                 fund, the Episcopal Church Clergy and Employees’ Benefit Trust
26                 (“ECCEBT”) that is intended to qualify as a voluntary employees’
27                 beneficiary association (VEBA) under Section 501(c)(9) of the
28                 Internal Revenue Code. The purpose of the ECCEBT is to provide
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 1                  benefits to eligible employees, former employees, and/or their
 2                  dependents in the event of illness or expenses for various types of
 3                  medical care and treatment.
 4          A VEBA is not an insurance company. 26 CFR 1.501(c)(9)-1. It is an organization that
 5 “provides for the payment of life, sick, accident, or other benefits to its members or their

 6 dependents or designated beneficiaries, and substantially all of its operations are in furtherance of

 7 providing such benefits.” Id at 1.501(c)(9)-1(c). There simply is no claim for benefits under an

 8 insurance policy in this action.

 9 IV.      CONCLUSION & MS. BLACK’S REQUEST FOR LEAVE TO AMEND
10          Ms. Black’s second claim for relief for tortious bad faith must be dismissed with prejudice.
11 Under California law, a claim for relief for tortious bad faith arises only from an insurance policy.

12 Since benefits under an insurance policy are not part of this action, Ms. Black’s complaint cannot

13 be cured so leave to amend is not appropriate. Griggs v. Pace Am. Group, Inc., 170 F.3d 877, 879

14 (9th Cir. 1999)(“Yet, dismissal without leave to amend is improper unless it is clear, upon de novo

15 review, that the complaint could not be saved by any amendment.”)

16 DATED: March 25, 2015                              OGLETREE, DEAKINS, NASH, SMOAK &
                                                      STEWART, P.C.
17

18

19                                                    By: /s/ Sean P. Nalty
                                                          Sean P. Nalty
20                                                        Attorneys for Defendants THE CHURCH
                                                          PENSION GROUP SERVICES
21                                                        CORPORATION doing business as THE
                                                          EPISCOPAL CHURCH MEDICAL TRUST;
22                                                        CIGNA BEHAVIORAL HEALTH, INC.
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